Case 2:05-cV-02009-.]P|\/|-de Document 8 Filed 08/17/05 Page 1 of 2 Page|D 26

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WESTERN DISTRICT 0F TENNESSB%UG '7 “" "’ "9

 

WESTERNDIVISION mnmsm.mn
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WILLIAM H. CARTER JUDGMENT IN A CIVIL CASE

VS

LOWE’S HOME IMPROVEMENT
WAREHOUSE OF CORDOVA and
LOWE’S HOME CENTERS, INC. CASE NO: 05-2009 Ml/V

 

 

The parties having compromised and settled all matters in
ccntroversy:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the
Stipulated Consent Order of Dismissal Pursuant to Rule 41 With
Prejudice filed Amgust _LlJ 2005, this case is DISMISSED with
prejudice.

APPROVED:

/Q@c>m°@.§il
JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

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Date Clerk of Court

(By) Mepuré}' clerk d

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

